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EXHIBIT 3
Case 2:20-cv-10719-SJM-DRG ECF No. 78-4, PagelD.1962 Filed 10/19/22 Page 2 of 3
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Page 1
1 UNITED STATES DISTRICT COURT
2 FOR THE EASTERN DISTRICT OF MICHIGAN
3 SOUTHERN DIVISION
.
5 ALEXANDRE ANSARI,
6 Plaintrt£,
7 WS 5 Civil Action
8 No. 2:20-cv-10719-SJM-DRJ
9 HON. STEPHEN J. MURPHY, III

10 MOISES JIMENEZ, in his
11 individual capacity, and the

12 CITY OF DETROIT, a municipal

13 corporation, Jointly and Severally,
14 Defendants,
15 /

16 . PAGES 1 TO 265

17

18 The Deposition of VALERIE R. NEWMAN,
Lg Taken at 2 Woodward Avenue, Sth Floor,
20 Detroit, Michigan,

ZL Commencing at 10:11 a.m.,

22 Monday, October 11, 2021,

23 Before Dale E. Rose, CSR-0087.

24

25
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Valerie Newman

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1 report that identifies Officer Algarrafi as an 1 specific documents that you know of that
2 officer investigating this file and this is the 2 Mr. Karafa did not receive?
3 only report that also identifies Lindsey as a 3 A. Definitively, no.
4 witness isn't it logical to assume that anybody 4 Q. Did you document any interviews that you had with
5 who has identified Mr. Algarrafi as a witness 5 Mr. Karafa?
6 also was aware of this report? 6 A. We talked to him. | don't know that we would
4 MR. MUELLER: Objection, foundation. 7 call it an interview. | don't know if it was
8 MR. O'NEILL: Objection, join in and 8 documented. If it was documented it would be in
9 add that the witness is not here to make 9 the file.
10 assumptions, but you can answer if you can. 10 Q. | apologize, I've got to jump all around because
11 A. | don't know. 11 Ms. Crittendon was extremely thorough. So you
12 BY MS. BRUENING: 12 said earlier that the CIU, one of its guiding
13 Q. Let me be more direct. You said that you spoke 13 principles is that you need to have some evidence
14 to defense counsel who represented Ansari in the 14 of -- some new evidence, right, to establish
15 underlying criminal file, right? 15 innocence, correct?
16 A. Yes. 16 A. Correct.
17 Q. And he tried to tell you that he didn't know 17 Q. In this case wnat new evidence did you find that
18 about this witness Shawn Lindsey, is that 18 ted to the conclusion that Ansari was innocent?
19 correct? 19 A. Well, like in most cases it's a combination of
20 A. Yes. 20 what existed originally and then what the new
21 Q. Were you aware that he called Officer Algarrafi 21 evidence Is.
22 as a witness at Mr. Ansari's trial? 22 So we started from the position in
23 A. | don't recall. 23 reading the reports where pretty much everyone
24 Q. Did you ever review any of the trial transcripts 24 described the guy as a big guy, maybe 300 pounds,
25 in the underlying-matter? 25 and that's definitely not Ansari. And then we
Page 187 Page 189
1 A. Along time ago. 1 kind of worked backwards to try and figure out
2 Q. Did you ever review any of the motion hearings or 2 what was going on.
3 the motions or anything like that, any of the 3 And so | would say the new -- | mean
4 pleadings leading up to the trial? 4 the new evidence in this case is primarily what
5 A. Probably not much. 5 it appears that officer Jimenez was not
6 Q. Did you ever obtain a copy of the file that the 6 forthright about and motivations to pin it on
7 defense attorney kept? 7 somebody else whose was kind of disposable rather
8 A. I'm trying to think, | remember talking with 8 than trying to track down -- there was a lot of
9 Mr. Karafa. | don't remember. | know we talked 9 information here that points to something going
10 to him, I'm sure we asked for the file, but I 10 on in terms of Rosalind Barley and her family
11 don't recall. 11 members being targeted and her relationship with
12 Q. If you had obtained a copy of that file would 12 Sandoval.
13 that have been digitized and saved as part of the 13 Q. Have you read the witness statements that were
14 CIU investigative materials? 14 created in the underlying criminal investigation?
15 A. Not necessarily. Often times we will look 15 A. Notall of them, but yes, | read them.
16 through a file and only digitize what we think is 16 Q. Were you aware that Barley disclosed her
17 relevant and then give it back. 17 relationship with Sandoval and the prior assaults
18 Q. And that's based on your subjective opinions of 18 and threats on her life?
19 what's relevant, correct? 19 A. Yes.
20 A. Correct. 20 Q. And those were in the possession of the
21 Q. And you don't know in this case if you guys -- 21 prosecutor, were they not?
22 and by that | mean CIU -- obtained a copy of 22 =A. They were.
23 Mr. Karafa's file? 23° Q. Soon what basis are you saying that Jimenez
24 A. | don't want to say, | don't recall. 24 withheld this information when it was right there
25 Q. Are you able to identify as we sit here today any 25 in black and white on the witness statement?
48 (Pages 186 to 189)
